 A.G.G., Jr., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: R.J.G. No. 22SC889Supreme Court of Colorado, En BancJanuary 17, 2023
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA404
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
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